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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA


                                          )
 INNOVATION LAW LAB, et al.               )            Civil Action No. 3:19-cv-00807-RS
                                          )
        Plaintiffs,                       )            [PROPOSED] ORDER
                                          )            GRANTING DEFENDANTS’
        v.                                )            MOTION TO TRANSFER VENUE
                                          )
 Kirstjen NIELSEN, Secretary, U.S.        )
 Department of Homeland Security, et al., )
                                          )
        Defendants.                       )
                                          )

       The Court hereby GRANTS Defendants’ Motion to Transfer Venue and hereby

ORDERS that this action be transferred to the United States District Court for the Southern

District of California, and that this matter be closed before this Court.
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      IT IS SO ORDERED.

Issued this _____ day of __________________________, 201__.

                                                     ____________________________

                                                     United States District Judge




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